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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

PAUL KINSEY, JR.                                                               PLAINTIFF
#223447

v.                          CASE NO. 4:19-CV-00656 BSM

JOHN STALEY, et al.                                                         DEFENDANTS

                                          ORDER

       Paul Kinsey, Jr. has not complied with the September 24, 2019 order [Doc. No. 3]

directing him to return a completed in forma pauperis application and filing fee, and the time

to do so has expired. Accordingly, this case is dismissed without prejudice for failure to

prosecute. See Local Rule 5.5(c)(2).

       IT IS SO ORDERED this 9th day of July, 2020.


                                                    UNITED STATES DISTRICT JUDGE
